Allegheny CQunsy 9.cv-00071-MJH Document 1-1 Filed 01/23/19

€Go Back

Allegheny County Department Of Court Records

Civil/Family Division Docket Report

Run Date and Time: 1/22/2019 - 15:5:41

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QZoomln AZoom-Out

 

GD-18-016961

Whetstone vs Darden

 

Filing Date:

Related Cases:

Consolidated Cases:

Judge:

Amount In Dispute:

12/19/2018

No Judge

$0

Case Type:

Court Type:

Current Status:

Jury Requested:

Other Tort

General Docket

Affidavit of Service

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

--Parties--
LName FName (MI Type Address Initial Service Completion Attorney
a 3304 Vernon Avenue Pittsburgh PA
Whetstone Larry Plaintiff -- -
15227
. . 151 Ladd Springs Road South Ea
Malone Bussing Services Defendant = --
Cleveland TN 37323
151 Ladd Springs Road South Ea
Malone Steve Defendant -- --
Cleveland TN 37323
2020 Bates Pike Sout East Apt. 701
Darden Teresa Defendant -- -
Cleveland TN 37311
: --Attorney--
LName FName MI Type Address Phone
Benestad Brian Paul Plaintiff's Attorney --
~-Non Litigants-- .
LName FName MI |Type ‘Address | Phone
No Litigants Found
~-Docket Entries--
Filing Date (Docket Type Docket Text Filing Party
1/17/2019 Affidavit of Service (Complaint served upon Defendant by Certified Mail and First Class Mail on 12/19/2018 Larry Whetstone
12/19/2018 Complaint Returnable date on 01/18/2019 Larry Whetstone

 

 

 

 

 

 

--Judgments Against--
|Satisfied(Y,N)

 

i
Name /Amount

 

EXHIBIT —

 

 

No Judgments Found

 

   

 

--Events Schedule-- i

a

 

https://dcr.alleghenycounty.us/Civil/View/DocketReport.aspx?CasID=GD-1... 1/22/2019

 

 
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Event Scheduled ‘Event Date & Time Room Number |Judge/Hearing Officer

 

No Information Found

 

 

 

https://der.alleghenycounty.us/Civil/View/DocketReport.aspx?CasID=GD-1..._ 1/22/2019

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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY,

PENNSYLVANIA
LARRY WHETSTONE, CIVIL DIVISION
Plaintiff, No. GD-18-016961

Vv.

MALONE BUSSING SERVICES, STEVE
MALONE and TERESA DARDEN,

Defendants.

 

COMPLAINT

Filed on behalf of Plaintiffs:
Larry Whetstone

JURY TRIAL DEMANDED
Counsel of Record for this Party:

Brian P. Benestad, Esquire
Pa. LD. No. 208857

HKM EMPLOYMENT ATTORNEYS LLP
220 Grant Street

Suite 401

Pittsburgh, PA 15219

412.485.0133

bbenestad@hkm.com
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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY,

PENNSYLVANIA
LARRY WHETSTONE, ) Civil Division

)

Plaintiff, ) No. GD-18-016961
v. )
)
MALONE BUSSING SERVICES, )
STEVE MALONE and TERESA )
DARDEN, )
)
Defendants. )
)

NOTICE TO DEFEND

YOU HAVE BEEN SUED IN COURT. If you wish to defend against the claims set forth
in the following pages, you must take action within TWENTY (20) days after this Complaint and
Notice to Defend are served, by entering a written appearance personally or by attorney and filing
in writing with the court your defenses or objections to the clams set forth against you. You are
warned that if you fail to do so the case may proceed without you and a judgment may be entered
against you by the court without further notice for any money claimed in the complaint or for any
other claim or relief requested by the plaintiff. You may lose money or property or other rights
important to you.

YOU SHOULD TAKE THIS PAPER TO YOUR LAWYER AT ONCE. IF YOU DO
NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH BELOW. THIS
OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT HIRING A LAWYER. IF YOU
CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE TO PROVIDE
YOU WITH INFORMATION ABOUT AGENCIES THAT MAY OFFER LEGAL SERVICES
TO ELIGIBLE PERSONS AT A REDUCED FEE OR NO FEE.

Lawyer Referral Service
The Allegheny County Bar Association
3rd Floor Koppers Bldg.
436 Seventh Ave.
Pittsburgh, PA 15219
412-261-5555

 
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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY,

PENNSYLVANIA
LARRY WHETSTONE, ) Civil Division

)

Plaintiff, ) No. GD-18-016961
Vv. )
)
MALONE BUSSING SERVICES, )
STEVE MALONE and TERESA )
DARDEN, )
)
Defendants. )

COMPLAINT

AND NOW COMES Plaintiff Larry Whetstone (‘Plaintiff’), by and through the
undersigned counsel and files the following Complaint against Defendant Malone Bussing
Services (“Malone Bussing”), Defendant Steve Malone (““Mr. Malone”) and Defendant Teresa
Darden (“Defendant Darden’) (collectively “Defendants”), stating as follows:

Introduction

1. This case concerns a 58-year-old man, Plaintiff Larry Whetstone, who was severely
injured and will never drive a tractor trailer again, due to being struck by a Malone Bussing tour
bus (“tour bus”) on the Pennsylvania Turnpike in Monroeville, PA on April 27, 2018 while driving
a tractor trailer in the course of his employment for Fraley & Schilling. The tour bus was owned
by Malone Bussing and/or Steve Malone (registered owner of tour bus) and was driven by
Defendant Darden. The accident occurred on April, 27, 2018, as both vehicles were attempting to
exit the Pennsylvania Turnpike at I-57. Defendant Darden was at fault for the accident as she
struck the tractor trailer driven by Plaintiff, and Defendant Darden was cited for driving on
roadways laned for traffic and for a registration violation as well. Due to the accident, Plaintiff

sustained severe injuries including a neck sprain, headaches, increased blood pressure, depression,

 
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anxiety, acute stress disorder symptoms, post-traumatic stress disorder (“PTSD”) and multiple
other serious injuries. He continues to treat for these significant injuries sustained as a result of
the accident and has been unable to and will continue to be unable to work for the foreseeable
future causing considerable lost wages. All of these terrible injuries and intense PTSD were caused
by the reckless and/or negligent operation of the commercial tour bus by Defendant Darden, under
the employ of Malone Bussing and Mr. Malone. The Defendants are fully responsible for
Plaintiff's injuries and condition, as well as fully responsible for his substantial back and future

lost wages.

The Parties
2. Plaintiff Larry Whetstone is a competent adult individual, currently residing at 3304
Vernon Avenue, Pittsburgh, PA 15227.
3, Defendant Malone Bussing Services is tour bus company with its headquarters

located at 151 Ladd Springs Road SE, Cleveland, TN 37323.

4, Defendant Steve Malone is the owner of Malone Bussing Services and the
registered owner of the tour bus involved in the accident on April 27, 2018, and Mr. Malone’s
address is 151 Ladd Springs Road SE, Cleveland, TN 37323.

5. Defendant Teresa Darden is an adult individual and employee of Malone Bussing,
and Defendant Darden’s address is 2020 Bates Pike SE, Apartment 701, Cleveland, TN 37311.

Jurisdiction and Venue
6. This Court has original jurisdiction over this action pursuant to 42 Pa. C.S.A. § 931.
7. Venue is appropriate in the Court of Common Pleas of Allegheny County pursuant

to Pa. R. Civ. P. 1006.

 

 
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Facts

8. On April 27, 2018 and at all relevant times hereto, Plaintiff was lawfully driving a
tractor trailer (2017 Freightliner Conventional Truck) while employed by Fraley & Schilling on
the Pennsylvania Turnpike.

9. At all relevant times hereto, Malone Bussing and/or Mr. Malone was the owner of
the 2017 Volvo 9700 Bus (“tour bus”) involved in the April 27, 2018 crash with Plaintiff.

10. At all relevant times hereto, Defendant Darden was operating the tour bus in the
course and scope of her employment.

11. At all times relevant hereto including on April 27, 2018 when the subject collision
occurred, Defendant Darden was operating the tour bus owned by Malone Bussing and/or Mr.
Malone with the express and implied permission of Malone Bussing and Mr. Malone.

12. At all times relevant hereto, Defendant Darden was an agent, servant, workman
and/or employee of Malone Bussing and Mr. Malone.

13. At all relevant times hereto, Defendant Darden was operating the tour bus in the
course and scope of her employment duties and/or in furtherance of the business interests of Mr.
Malone and Malone Bussing.

14. The collision which is complained of occurred on April 27, 2018 on the
Pennsylvania Turnpike in Monroeville, PA.

15, On April 27, 2018, Plaintiff was lawfully and carefully attempting to exit the
Pennsylvania Turnpike when Defendant Darden, operating the Malone Bussing tour bus,
negligently, carelessly and recklessly drove the tour bus causing it to collide with the tractor trailer

driven by Plaintiff.

 

 
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16. As a result of her careless and reckless driving, Defendant Darden was cited by the
Pennsylvania state police for driving on roadways laned for traffic and a registration violation.
17. The actions of Malone Bussing and Mr. Malone, acting by and through their agent,
servant, workman and/or employee, caused Plaintiff to suffer injuries as are hereinafter more fully
described.
18. The damages sustained by Plaintiff are the direct and proximate result of
Defendants’ negligence, ordinary and gross, and reckless, willful and wanton actions.
Count I— Larry Whetstone v. Teresa Darden - Negligence
19. Plaintiff incorporates all preceding paragraphs of the Complaint with the same force
and effect as though set forth at length herein.
20. Defendant Darden’s negligence, both ordinary and gross, and reckless, willful and
wanton actions include, but are not limited to, the following particulars:
a. Failure to properly observe the roadway;
b. Failure to properly brake her vehicle;
c. Operating the tour bus without due regard for the rights, safety and position of
the tractor trailer driven by Plaintiff;
d. Operating the tour bus so as to bring it into sudden, forcible contact with the
tractor trailer driven by Plaintiff;
e. Failure to maneuver the tour bus so as to avoid the crash and impact;
f. Failure to maintain adequate control over the tour bus;
g. Operating the tour bus with careless disregard for the safety of others in
violation of state law:

h. Driving recklessly and causing injury to another person; and
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i,

Failure to obey the rules of the road and the statutes regarding the operation of

a vehicle on public roadways.

21. As a direct and proximate result of Defendant Darden’s negligence, both ordinary

and gross, and reckless, willful and wanton actions, Plaintiff sustained the following injuries, some

or all of which are ongoing and may be permanent in nature:

a. neck sprain

b. headaches;

c. increased blood pressure;

d. depression;

e. anxiety;

f. acute stress disorder symptoms;

g. post-traumatic stress disorder (“PTSD”);

h. major depressive disorder moderate symptoms;

i. generalized anxiety disorder;

j. multiple other serious injuries, symptoms and conditions; and

k. other injuries as listed in the medical records and as diagnosed in the future.
22. Solely as a result of the aforesaid injuries and Defendant’s actions, Plaintiff has

sustained the following damages

a.

b.

He has been and will be required to expend large sums of money for medical
attention, daily care, psychiatric treatment, hospitalization, medical supplies,
medicines, attendant services, and prescriptions including but not limited to
sertraline;

He has unpaid medical bills;

 

 
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c. His general health, strength and vitality have been impaired;

d. He has been unable to enjoy the ordinary pleasures of life;

e. He has been unable to work or drive a commercial vehicle since the date of the
accident;

f. He has been diagnosed with severe PTSD and an inability to return to work as
a result of the accident;

g. Substantial lost back and future wages as Plaintiff is 58 and intended to work
for at least another 15 years earning at least $55,000 annually plus bonuses; and

h. All other economic wage loss which becomes known.

23. In addition to economic loss, Defendant Darden remains liable to Plaintiff herein
for noneconomic wage loss pursuant to the Pennsylvania Motor Vehicle Financial Responsibility
Act and by reason of 75 Pa. C.S.A. § 1705.

24. Asa further result of the collision on April 27, 2018 described above, Plaintiff has
suffered severe physical pain, mental anguish, loss of enjoyment of life, emotional distress, loss of
vitality, vigor, health and/or strength and will continue to suffer for an indefinite time into the future
including the following:

a. He suffered, and continues to suffer, extreme physical pain on a daily basis as
a result of the aforementioned injuries; and

b. He suffered and continues to suffer emotional distress as a result of the trauma
of the accident; and

c. He suffered and continues to suffer emotional distress as a result of his injuries,

limitations, and disfigurement.

 
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25. As a result, Defendant Darden failed to satisfy his required duty of care, and Defendant
Darden is liable to Plaintiff for the injuries and damages that he sustained.

26. The totality of the conduct on the part of Defendant Darden evidenced a willful, wanton,
reckless, callous and total disregard for the safety and physical well-being of Plaintiff and the public in
general.

27. Defendant Darden’s conduct, involving the collision of a tour bus with a tractor trailer,
was malicious and outrageous in nature, rendering Defendant Darden liable for the assessment of
punitive damages.

28. Plaintiff therefore seeks punitive damages under governing law in an amount within the
Jurisdictional limits of the Court.

29. Plaintiff also alleges that the acts and omissions of Defendant Darden, whether taken
singularly or in combination with others, constitute gross negligence and proximately caused the injuries
to Plaintiff. In that regard, Plaintiff will, as noted, seek exemplary damages.

WHEREFORE, Plaintiff Larry Whetstone demands judgment in his favor, an award of
damages exceeding the applicable jurisdictional limits, and all other costs and expenses that the
Honorable Court deems just.

Count II — Larry Whetstone v. Malone Bussing Services and Steve Malone - Negligence

27. Plaintiff incorporates all preceding paragraphs of the Complaint with the same force
and effect as though set forth at length herein.

28. At the time of the crash, Defendant Darden was operating the tour bus owned by
Malone Bussing and/or Mr. Malone with Defendants’ full knowledge and permission, whether

express or implied by prior course of conduct.

 
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29. At the time that Malone Bussing and Mr. Malone entrusted their tour bus to
Defendant Darden, Defendant Darden was an employee of Malone Bussing and Mr. Malone.

30. The collision on April 27, 2018 and the resulting injuries and damages described
above were a direct and proximate result of the negligence, carelessness and recklessness of
Malone Bussing and Mr. Malone, acting by and through their agents, servants, workmen and/or
employees, as follows:

a. In that the employee of Malone Bussing and Mr. Malone was operating their
tour bus in a dangerous and unsafe manner under the circumstances;

b. In that the employee of Malone Bussing and Mr. Malone crashed a tour bus into
a tractor trailer driven by Plaintiff;

c. In that the employee of Malone Bussing and Mr. Malone drove their tour bus
so as to cause it to collide with Plaintiff's tractor trailer in violation of the
Pennsylvania Motor Vehicle Code;

j. Inthat the employee of Malone Bussing and Mr. Malone operated their tour bus
with careless disregard for the safety of others in violation of state law; and

k. In that the employee of Malone Bussing and Mr. Malone drove recklessly and
caused injury to Plaintiff.

31. Upon information and belief, at the time that Malone Bussing and Mr. Malone hired
Defendant Darden, Malone Bussing and Mr. Malone failed to adequately screen Defendant Darden to
determine whether she should be entrusted with their tour bus.

32. Upon information and belief, at the time Malone Bussing and Mr. Malone entrusted
their tour bus to Defendant Darden, Malone Bussing and Mr. Malone failed to take precautions to

ensure that Defendant Darden would operate the tour bus in a safe and reasonable manner.

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33. At the time Malone Bussing and Mr. Malone entrusted their tour bus to Defendant
Darden, Malone Bussing and Mr. Malone knew or reasonably should have known, that Defendant
Darden would operate the tour bus in an unsafe, careless and reckless manner causing Plaintiff's
injuries.

34. At the time Malone Bussing and Mr. Malone entrusted their tour bus to Defendant
Darden, Malone Bussing and Mr. Malone failed to adequately train and supervise Defendant Darden
and monitor her use of the tour bus.

35. At the time Malone Bussing and Mr. Malone entrusted their tour bus to Defendant
Darden, Malone Bussing and Mr. Malone knew, or reasonably should have known, that Defendant
Darden would, or was likely to, operate the tour bus in a willful, reckless, careless and/or negligent
manner and that such willful, reckless, careless and/or negligent conduct was reasonably foreseeable
to cause harm to others and Plaintiff.

36. As aresult of Malone Bussing and Mr. Malone entrusting their tour bus to Defendant
Darden, Plaintiff was injured and suffered serious injuries and damages including, but not limited to
substantial lost wages and those injuries specified in the paragraphs above in this Complaint.

37. The injuries and damages Plaintiff suffered as a result of Defendants’ reckless, careless
and/or negligent conduct, including but not limited to, all actions or inactions specified in the paragraphs
above, were reasonably foreseeable to Defendants.

38. During all relevant times hereto, Defendant Darden was acting within the
permissible course and scope of her employment with Malone Bussing and, as such, Malone
Bussing and Mr. Malone are liable for Defendant Darden’s actions under the doctrines of

respondeat superior, master/servant liability and/or vicarious liability.

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39. In addition to economic loss, Defendants remain liable to Plaintiff herein for non-
economic loss pursuant to the Pennsylvania Motor Vehicle Financial Responsibility Act and by reason
of 75 Pa.C.S.A. §1705.

40. Asa result, Defendants failed to satisfy its required duty of care, and is liable to
Plaintiff for the injuries and damages that he sustained.

41. The totality of the conduct on the part of Defendants evidenced a willful, wanton,
reckless, callous and total disregard for the safety and physical well-being of Plaintiff and the
public in general. This conduct was malicious and outrageous in nature, rendering Defendants
liable for the assessment of punitive damages.

42. Plaintiff therefore seeks punitive damages under governing law in an amount within the
jurisdictional limits of the Court. Plaintiff also alleges that the acts and omissions of Malone Bussing
and Mr. Malone whether taken singularly or in combination with others, constitute gross negligence
and proximately caused the injuries to Plaintiff. In that regard, Plaintiff will seek exemplary
damages in an amount that would punish Defendants for its conduct which would deter it and other
companies from engaging in such misconduct in the future.

WHEREFORE, Plaintiff Larry Whetstone demands judgment in his favor, an award of
damages exceeding the applicable jurisdictional limits, and all other costs and expenses that the
Honorable Court deems just.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff Larry Whetstone prays for judgment against Defendants, jointly
and severally, as follows:

a. Awarding actual damages to Plaintiff in an amount to exceed the jurisdictional limits

and to be determined at trial;

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b. Awarding treble and/or punitive damages to Plaintiff:

c. Awarding pre-judgment and post-judgment interest to the Plaintiff, as permitted by

law; and

d. Granting all such other relief as the Court deems necessary, just and proper.
DEMAND FOR JURY TRIAL

Plaintiff hereby demands a trial by Jury on all Counts and all issues.

Date: December 19, 2018 Respectfully Submitted,

Rik tak

Brian P. Benestad, Esquire
Pa. I.D. 208857

 

HKM EMPLOYMENT ATTORNEYS LLP
220 Grant Street

Suite 401

Pittsburgh, PA 15219

412.485.0133

bbenestad@hkm.com

13

 
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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY,

PENNSYLVANIA
LARRY WHETSTONE, ) Civil Division
)
Plaintiff, ) No.
Vv. } «
)
MALONE BUSSING SERVICES, )
STEVE MALONE and TERESA )
DARDEN, )
)
Defendants. )
)
VERIFICATION

I, Larry Whetstone, plaintiff in the within action, verify that the statements made and facts
set forth in the foregoing Complaint are true and correct to the best of my knowledge, information
and belief. I understand that false statements herein are made a crime and made subject to the

penalties of 18 Pa. C.S. § 4904 relating to unsworn falsification to authorities.

Date: 2-12-2615

 

 

14

 
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IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY,

PENNSYLVANIA
LARRY WHETSTONE, CIVIL DIVISION
Plaintiff, No. GD-18-016961

Vv.

MALONE BUSSING SERVICES, STEVE
MALONE and TERESA DARDEN,

Defendants.

 

AFFIDAVIT OF SERVICE
Filed on behalf of Plaintiffs:
Larry Whetstone

JURY TRIAL DEMANDED
Counsel of Record for this Party:

Brian P. Benestad, Esquire
Pa. I.D. No. 208857

HKM EMPLOYMENT ATTORNEYS LLP
220 Grant Street

Suite 401

Pittsburgh, PA 15219

412.485.0133

bbenestad@hkm.com

 

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Case 2:19-cv-00071-MJH Document 1-1 Filed 01/23/19 Page 18 of 24

IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY,

PENNSYLVANIA
LARRY WHETSTONE, ) Civil Division

)

Plaintiff, ) No. GD-18-016961
v. )
)
MALONE BUSSING SERVICES, )
STEVE MALONE and TERESA )
DARDEN, )
)
Defendants. )

AFFIDAVIT OF SERVICE OF COMPLAINT OF DEFENDANT STEVE MALONE
AND NOW COMES Plaintiff Larry Whetstone, by and through the undersigned counsel,
and files the following Affidavit of Service of the Complaint on Defendant Steve Malone. On
December 19, 2018, the Complaint in the within action was sent by both certified mail, return
receipt requested, and first class mail, postage prepaid to the out of state Defendant Steve Malone.
On December 26, 2018, Defendant Steve Malone received the aforesaid Complaint. The mailing
receipt and return receipt card evidencing the same are attached hereto and made a part hereof.

Date: January 17, 2019 Respectfully Submitted,

Brian P. Benestad, Esquire
Pa. 1.D. 208857

  

 

HKM EMPLOYMENT ATTORNEYS LLP
220 Grant Street

Suite 401

Pittsburgh, PA 15219

412.485.0133

bbenestad@hkm.com

 

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Case 2:19-cv-00071-MJH Document 1-1 Filed 01/23/19 Page 19 of 24

IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY,

PENNSYLVANIA

LARRY WHETSTONE, ) Civil Division

)
Plaintiff, ) No.

V. )
)
MALONE BUSSING SERVICES, )
STEVE MALONE and TERESA )
DARDEN, )
)
Defendants. )
)

CERTIFICATE OF SERVICE
I certify that a true and correct copy of the foregoing AFFIDAVIT OF SERVICE was
filed electronically with the Court and served via electronic mail on this 17th day of January, 2019
upon the following:
John Pion, Esquire
Pion, Nerone, Girman, Winslow & Smith, P.C.
1500 One Gateway Center
420 Fort Duquesne Blvd.
Pittsburgh, PA 15222

JPion@pionlaw.com
Attorney for Defendants

Brian P. Benestad, Esquire

 

 

 
 

 

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IN THE COURT OF COMMON PLEAS
OF ALLEGHENY COUNTY, PENNSYLVANIA

LARRY WHETSTONE,
Plaintiff,
Vv.
MALONE BUSSING SERVICES,
STEVE MALONE and
TERESA DARDEN,

Defendants.

CIVIL DIVISION

No. GD-18-016961

NOTICE OF FILING OF NOTICE OF
REMOVAL

Code:

Filed on behalf of Defendants
MALONE BUSSING SERVICES, STEVE
MALONE and TERESA DARDEN

Counsel of record for this party:

John T. Pion, Esquire
PA LD. #43675

jpion@pionlaw.com

Paul A. Custer, Esquire
PA LD. # 87628

pcuster@pionlaw.com

PION, NERONE, GIRMAN, WINSLOW &
SMITH, P.C.

1500 One Gateway Center

420 Fort Duquesne Boulevard

Pittsburgh, PA 15222

412-281-2288

JURY TRIAL DEMANDED

 
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IN THE COURT OF COMMON PLEAS
OF ALLEGHENY COUNTY, PENNSYLVANIA
LARRY WHETSTONE, CIVIL DIVISION
Plaintiff, No. GD-18-016961

)
)
)
)
Vv. )
)
MALONE BUSSING SERVICES, )
STEVE MALONE and )
TERESA DARDEN, )

)
Defendants.

NOTICE OF FILING OF NOTICE OF REMOVAL

TO THE PROTHONOTARY:

TAKE NOTICE that on the 23rd day of January, 2019, the undersigned counsel for the
Defendants filed a Notice of Removal of this action from the Court of Common Pleas of
Allegheny County, Pennsylvania to the United States District Court for the Western District of
Pennsylvania. A copy of said notice of removal is attached hereto and incorporated by reference
as if the same were fully set forth at length herein.

Respectfully submitted,
PION, NERONE, GIRMAN, WILSOW

& SMITH

BY: /s/Paul A. Custer
Paul A. Custer, Esquire
1500 One Gateway Center
420 Fort Duquesne Boulevard
Pittsburgh, PA 15222
412-281-2288
Counsel for Defendants

 
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CERTIFICATE OF SERVICE

I, Paul A. Custer, Esquire, hereby certify that a true and correct copy of the foregoing
Notice of Filing of Notice of Removal was served upon counsel of record via electronic mail,

this 23rd day of January, 2019 as follows:

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By/s/Paul A. Custer
Paul A. Custer, Esquire

 
